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Attorney for Plaintiff/Respondent
Billie Rene’ Francis Lillian Powers

BILLIE RENE’ FRANCES LILLIAN
POWERS,

Plaintiff,
Ve;

COUNTRYWIDE HOME LOANS, INC.;
COUNTRYWIDE BANK, FSB;
COMMONWEALTH LAND TITLE
INSURANCE COMPANY; MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS,
INC. “MERS”; BANK OF AMERICA, N.A.;
RECONTRUST COMPANY, N.A.; BAC
HOME LOANS SERVICING, LP; QUALITY
LOAN SERVICING CORPORATION ;
SELECT PORTFOLIO SERVICING, INC.;
THE BANK OF NEW YOUR MELLON F/K/A
THE BANK OF NEW YORK, AS TRUSTEE,
ON BEHALF OF THE HOLDERS OF THE
ALTERNATIVE LOAN TRUST 2007-HY9,
MORTGAGE PASS-THROUGH
CERTIFICATES SERIES 2007-HY9; THE
BANK OF NEW YOUR MELLON F/K/A THE
BANK OF NEW YORK, AS TRUSTEE, FOR
THE CERTIFICATE HOLDERS,
ALTERNATIVE LOAN TRUST 2007-HY9
MORTGAGE PASS THROUGH
CERTIFICATES, SERIES 2007-HY9; JON
SECRIST; AND DOES 1 TO 10,

Defendant(s).

 

 

 

 

Filed 10/30/17 Page 1of2 Page ID #:903

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No.: SACV17-01386-DOC-KES
Assigned to District Judge:
Hon. David O. Carter

Courtroom 9D

Assigned Discovery Magistrate Judge:
Hon. Karen E. Scott

PROOF OF SERVICE EXPARTE APPLICATION
FOR TEMPORARY RESTRAINING ORDER
AND ORDER TO SHOW CAUSE WHY
PRELIMINARY INJUNCTION SHOULD NOT BE
ISSUED

Hearing on Motion

Date: November 2, 2017
Time: 8:30 am

Dept: 9D

Date Filed: August 11, 2017

 
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STATE OF CALIFORNIA, COUNTY OF ORANGE

I am a citizen of the United States, and a resident of the County aforesaid. I am over the age of 18

years and not a party to the within entitled action. My business address is 131 N. Tustin Ave., Ste.
200, Tustin, CA 92780, On October 30, 2017, I served the attached

PROOF OF SERVICE OF OPPOSITION TO THE DEFENDANTS’ MOTION TO DISMISS

on the persons interested in said action by placing true copies thereof enclosed in a sealed envelope
with postage thereon fully prepaid, in the United States post office mail box at Tustin, California,

addressed as follows:

Steven M. Dailey, Esq,
Kutak Rock LLP

5 Park Plaza, Ste. 1500
Irvine, CA 92601-8595

I certify under penalty of perjury that the foregoing is\t
on October 30, 2017.

 

 

RICHARD W. SNYDER, ESQ.

 

 
